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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                   MONROE DIVISION


  MAYA DETIEGE and DAYNE SHERMAN,                     CIVIL ACTION NO.: 3:23-cv-175

                              Plaintiffs,
                        v.                            JUDGE WALTER

  KATRINA JACKSON, in her official and
  individual capacities,                              MAGISTRATE JUDGE MCCLUSKY

                             Defendant.


                             PLAINTIFFS’ MOTION TO STRIKE

        NOW INTO COURT, through undersigned counsel, come Plaintiffs Maya Detiege and

 Dayne Sherman, who respectfully move this Court, pursuant to Rule 12(f) of the Federal Rules

 of Civil Procedure, for the entry of an order striking portions of Defendant’s Memorandum in

 Support of Motion for Summary Judgment, Rec. Doc. 50-1, on the grounds that these portions

 constitute “redundant, immaterial, impertinent, or scandalous matter” for the reasons stated in the

 accompanying memorandum.

        WHEREFORE, Plaintiffs pray the Court enter the attached order.


                                                      Respectfully submitted,


                                                      /s/ Annie Cleveland
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